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 1                                                   THE HONORABLE RICHARD A. JONES
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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8

 9   BLACK LIVES MATTER SEATTLE-                  No. 2:20-cv-887 RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                      REPLY ISO MOTION FOR ORDER TO
     KYASHNA-TOCHA, ALEXANDER                     SHOW CAUSE WHY CITY OF SEATTLE
11   WOLDEAB, NATHALIE GRAHAM,                    SHOULD NOT BE HELD IN CONTEMPT
     AND ALEXANDRA CHEN,                          FOR VIOLATING THE PRELIMINARY
12                                                INJUNCTION
                             Plaintiffs,
13                                                NOTE ON MOTION CALENDAR:
              v.                                  July 30, 2020
14
     CITY OF SEATTLE,
15
                             Defendant.
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 1   A.       The City’s Response ignores clear violations of the Injunction.
 2            The City’s Response is both lacking and illuminating. It is lacking because the City
 3   cherry-picks one declaration, but ignores every other witness who testified (under oath) about the
 4   City’s indiscriminate violence. The City ignores Ms. Trimble, whose limited mobility prevented
 5   her from running away fast enough (from her own police force), so she and other “stragglers”
 6   were targeted with blast balls. The City ignores Mr. Wieser, a journalist, who posed no threat,
 7   told the officers he would move back, but was shot in the face with pepper spray for no reason.
 8   The City ignores Mr. Smith, another journalist, who captured multiple videos of officers
 9   attacking peaceful protesters, such as repeatedly spraying young women trying to shelter behind
10   an umbrella. The City ignores video footage of an SPD officer nonchalantly tossing a blast ball
11   at Renee Raketty, another journalist, sitting alone on a fire escape taking pictures behind the
12   police line with her press credentials clearly visible. Ms. Bruce was shot with a blast ball when
13   she was protesting with her parents; Ms. Bonifilia was ten rows back when SPD shot her with a
14   projectile, leaving her with second-degree burns. Ms. Forest was with the Wall of Moms when
15   SPD decided to pepper spray all of them. Another Mom recounts, “All I did was wear a yellow
16   shirt and yell. I was not violent. I was not a threat.” Tewson Decl. at ¶ 15. Moms wearing
17   yellow, standing with arms linked, were pepper sprayed across their faces. Id. at ¶ 11. Witness
18   after witness testified to the indiscriminate use of blast balls, pepper balls, and other projectiles—
19   all in violation of the Court’s order.
20            The City’s response is illuminating because it reveals why the clarifications to the
21   injunction that Plaintiffs request are so necessary. The Brooks declaration is terrifying in its
22   Orwellian view that anyone carrying an umbrella or wearing “protective clothing” can be
23   targeted. Brooks, Decl. ¶¶ 6, 8. According to the City, if a protester tries to shield herself from
24   pepper spray, then that protester is inviting the use of pepper spray. If the City’s conduct goes
25   unchecked, then it’s open season on protesters who take precaution at all to minimize the risk
26

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 1   that they are maimed or killed by the weapons SPD insists on deploying against the thousands of
 2   people standing up for Black lives.
 3            Similarly, the City claims that because criminal actors sometimes operate from deep
 4   within a crowd, see Brooks Decl., ¶¶ 8-9, officers may indiscriminately launch weapons at
 5   crowds. The logical implication of Brooks’s declaration is that SPD would be able to deploy less
 6   lethal weapons on protesters at every event, meaning this Court’s Order is utterly toothless.
 7            Protesters don’t lose their First Amendment protection just because there have been some
 8   associated incidents of violence. N.A.A.C.P. v. Claiborne Hardware Co., 458 U.S. 886, 908
 9   (1982) (“The right to associate does not lose all constitutional protection merely because some
10   members of the group may have participated in conduct or advocated doctrine that itself is not
11   protected.”); see also Jones v. Parmley, 465 F.3d 46, 60 (2d Cir. 2006) (“[P]laintiffs had an
12   undeniable right to continue their peaceable protest activities, even when some in the
13   demonstration might have transgressed the law.”); cf. State v. Moe, 174 Wash. 303, 306 (1933)
14   (vacating riot conviction of person not participating as a rioter). Let’s state the obvious:
15   declaring a riot didn’t transform those umbrella-wielding mothers into rioters.
16            The City has clearly violated this Court’s order, in significant part because of its
17   unreasonably distorted interpretation of the plain language of the order.
18
     B.       The City’s arguments demonstrate why it is necessary to clarify the Injunction.
19            Doing so violates neither Due Process nor the Consent Decree.

20            The City apparently believes that everything it did on Saturday—nonchalantly throwing

21   blast balls into crowds and pepper spraying journalists, medics, and protesters simply to move

22   people, not to respond to specific threats—was consistent with the Court’s injunction. These

23   were not isolated instances that can be overlooked to arrive at a “substantial compliance”

24   conclusion, as the City urges. Instead the evidence shows they were widespread practices, that

25   arose from a deeply flawed interpretation of what the Injunction permits. This comes through

26   clearly in the Brooks declaration, as he describes moving police lines back and forth on Capitol


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 1   Hill in terms reminiscent of “battles lines.” The City’s interpretation demonstrates why
 2   clarifications are necessary. Absent immediate clarification from this Court, such violations are
 3   virtually certain to occur again, to the grave injury of Plaintiffs and other peaceful protesters.
 4            The City insists that clarifying the order or finding contempt would somehow violate its
 5   due process rights. But the City’s cases involve criminal contempt, not civil contempt. See Int’l
 6   Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 833-34 (1994); Green v. United
 7   States, 356 U.S. 165, 217 n.33 (1958); Lasar v. Ford Motor Co., 399 F.3d 1101, 1110 (9th Cir.
 8   2005) (contempt may either by civil or criminal, defined by the character and purpose of the
 9   associated sanction). Having made this false conflation, the City argues (erroneously and
10   inconsistently) that Plaintiffs must show proof beyond a reasonable doubt (a criminal standard)
11   while also acknowledging that “clear and convincing evidence” (a civil standard) is the right
12   threshold. In this case, the extensive evidence submitted by Plaintiffs’ easily satisfies the clear
13   and convincing standard. Indeed, the vast majority of that evidence is completely unrebutted.
14            “Courts have long had the inherent power to modify court orders in changed
15   circumstances,” which includes when there has been a “substantial violation of a court order.”
16   Kelly v. Wengler, 822 F.3d 1085, 1098 (9th Cir. 2016) (collecting cases). A modification “is
17   ‘suitably tailored to the changed circumstances’ when it ‘would return both parties as nearly as
18   possible to where they would have been absent’ the changed circumstances.” Id. Here, a
19   clarification that a ban on the indiscriminate use of less lethal weapons against peaceful
20   protesters includes a ban on targeting medics, journalists, and legal observers, does not change
21   the terms of the preliminary injunction. It merely returns Plaintiffs to the position before SPD
22   violated the Court’s order. Such a modification is “therefore well within the court’s inherent
23   power.” Id.
24            The City erroneously suggests that granting this motion would somehow create a conflict
25   with Judge Robart’s ruling in the Consent Decree case. This a red herring. Judge Robart praised
26   the preliminary injunction in this case from the bench, and again in his order, and recognized that

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 1   the injunction was consistent with the Consent Decree. Ensuring that journalists, medics, legal
 2   observers, and peaceful protesters aren’t targeted with indiscriminate violence is entirely
 3   consistent with the Consent Decree as interpreted by Judge Robart.
 4
     C.       Courts have found contempt for less egregious violations of court orders.
 5            Courts have found civil contempt under facts far less egregious than those present here
 6   and have not hesitated to hold defendants in contempt when law enforcement officials violate a
 7   court order. E.g., Kelly v. Wengler, 822 F.3d 1085, 1096-98 (9th Cir. 2016) (affirming order
 8   holding prison in contempt for failing to take reasonable steps to fully staff security posts as
 9   required settlement agreement and modifying settlement agreement to extend court’s jurisdiction
10   as sanction); Afro-Am. Patrolmen’s League v. City of Atlanta, 817 F.2d 719, 721 (11th Cir. 1987)
11   (affirming contempt finding against City for violating consent decree regarding discrimination in
12   police force); Casale v. Kelly, 710 F. Supp. 2d 347, 360 (S.D.N.Y. 2010) (holding City in civil
13   contempt because NYPD had not made “reasonably diligent and energetic efforts” to prevent
14   enforcement of unconstitutional loitering ordinance); Farber v. Rizzo, 363 F. Supp. 386, 395
15   (E.D. Pa. 1973) (holding Philadelphia Police Department in civil contempt for violating TRO to
16   protect the right to protest, rejecting defense that they received erroneous advice from counsel
17   about what the TRO prohibited).
18            The City asserts that “lay opinions” cannot form the basis for contempt. This is a strange
19   and utterly wrong argument. Describing how a police officer pepper sprayed a line of peaceful
20   mothers inflicted second-degree burns, or “pepper sprayed me in the face” for not walking fast
21   enough aren’t lay opinions, they are first-hand factual accounts, made under oath. The same is
22   true of the sworn testimony of journalists describing officers nonchalantly throwing grenades at
23   peaceful protesters and shooting indiscriminately into the crowd. And they are unrebutted
24   accounts.
25            The City’s correct, however, that “the contempt need not be willful” in order to be
26   sanctionable Reno Air Racing Ass’n v. McCord, 452 F.3d 1126, 1130 (9th Cir. 2006). Plaintiffs

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 1   only need to show, and have, that the City failed, through the objective conduct of its officers, to
 2   take “all reasonable steps” to implement the plain meaning of the current preliminary injunction:
 3   to refrain from deploying less lethal weapons indiscriminately, against peaceful protesters, and to
 4   use them only if the deployment is a “necessary, reasonable, proportional, and targeted action to
 5   protect against a specific imminent threat of physical harm to themselves or identifiable others or
 6   to respond to specific acts of violence or destruction of property.” Dkt. 42, at 2.
 7   D.       Conclusion
 8            The City’s violence was neither targeted nor proportional. Rather than focus on
 9   identifying a specific and imminent threat justifying each of SPD’s many, many deployments of
10   potentially lethal weapons, the City’s own declarants seem to argue that SPD regarded everyone
11   who did not follow their direction quickly enough (even when no directions were given, or, if
12   given, could not be heard or quickly complied with) as a threat, including mothers wielding
13   umbrellas, journalists holding cameras, and legal observers documenting the scene. Having
14   made that determination, SPD allowed its officers to shoot indiscriminately into a crowd that the
15   City estimates contained 5,000 to 7,000 people, in most cases simply to move the crowd—that is
16   the antithesis of this Court’s order.
17            Taken together, the Court should clarify its order to ensure these actions don’t happen
18   again. In addition, Plaintiffs seek a modest sanction (attorneys’ fees for bringing this motion), a
19   request that is reasonable under these circumstances given the burdens on Plaintiffs to spring into
20   action in response to these violations.
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